Case 3:02-cv-00084-DMS-RBB   Document 475    Filed 04/14/25   PageID.13703   Page
                                   1 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475    Filed 04/14/25   PageID.13704   Page
                                   2 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475    Filed 04/14/25   PageID.13705   Page
                                   3 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475    Filed 04/14/25   PageID.13706   Page
                                   4 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475    Filed 04/14/25   PageID.13707   Page
                                   5 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475    Filed 04/14/25   PageID.13708   Page
                                   6 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475    Filed 04/14/25   PageID.13709   Page
                                   7 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475    Filed 04/14/25   PageID.13710   Page
                                   8 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475    Filed 04/14/25   PageID.13711   Page
                                   9 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475 Filed 04/14/25   PageID.13712   Page
                                  10 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475 Filed 04/14/25   PageID.13713   Page
                                  11 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475 Filed 04/14/25   PageID.13714   Page
                                  12 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475 Filed 04/14/25   PageID.13715   Page
                                  13 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475 Filed 04/14/25   PageID.13716   Page
                                  14 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475 Filed 04/14/25   PageID.13717   Page
                                  15 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475 Filed 04/14/25   PageID.13718   Page
                                  16 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475 Filed 04/14/25   PageID.13719   Page
                                  17 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475 Filed 04/14/25   PageID.13720   Page
                                  18 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475 Filed 04/14/25   PageID.13721   Page
                                  19 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475 Filed 04/14/25   PageID.13722   Page
                                  20 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475 Filed 04/14/25   PageID.13723   Page
                                  21 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475 Filed 04/14/25   PageID.13724   Page
                                  22 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475 Filed 04/14/25   PageID.13725   Page
                                  23 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475 Filed 04/14/25   PageID.13726   Page
                                  24 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475 Filed 04/14/25   PageID.13727   Page
                                  25 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475 Filed 04/14/25   PageID.13728   Page
                                  26 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475 Filed 04/14/25   PageID.13729   Page
                                  27 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475 Filed 04/14/25   PageID.13730   Page
                                  28 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475 Filed 04/14/25   PageID.13731   Page
                                  29 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475 Filed 04/14/25   PageID.13732   Page
                                  30 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475 Filed 04/14/25   PageID.13733   Page
                                  31 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475 Filed 04/14/25   PageID.13734   Page
                                  32 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475 Filed 04/14/25   PageID.13735   Page
                                  33 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475 Filed 04/14/25   PageID.13736   Page
                                  34 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475 Filed 04/14/25   PageID.13737   Page
                                  35 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475 Filed 04/14/25   PageID.13738   Page
                                  36 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475 Filed 04/14/25   PageID.13739   Page
                                  37 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475 Filed 04/14/25   PageID.13740   Page
                                  38 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475 Filed 04/14/25   PageID.13741   Page
                                  39 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475 Filed 04/14/25   PageID.13742   Page
                                  40 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475 Filed 04/14/25   PageID.13743   Page
                                  41 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475 Filed 04/14/25   PageID.13744   Page
                                  42 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475 Filed 04/14/25   PageID.13745   Page
                                  43 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475 Filed 04/14/25   PageID.13746   Page
                                  44 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475 Filed 04/14/25   PageID.13747   Page
                                  45 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475 Filed 04/14/25   PageID.13748   Page
                                  46 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475 Filed 04/14/25   PageID.13749   Page
                                  47 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475 Filed 04/14/25   PageID.13750   Page
                                  48 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475 Filed 04/14/25   PageID.13751   Page
                                  49 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475 Filed 04/14/25   PageID.13752   Page
                                  50 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475 Filed 04/14/25   PageID.13753   Page
                                  51 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475 Filed 04/14/25   PageID.13754   Page
                                  52 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475 Filed 04/14/25   PageID.13755   Page
                                  53 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475 Filed 04/14/25   PageID.13756   Page
                                  54 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475 Filed 04/14/25   PageID.13757   Page
                                  55 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475 Filed 04/14/25   PageID.13758   Page
                                  56 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475 Filed 04/14/25   PageID.13759   Page
                                  57 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475 Filed 04/14/25   PageID.13760   Page
                                  58 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475 Filed 04/14/25   PageID.13761   Page
                                  59 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475 Filed 04/14/25   PageID.13762   Page
                                  60 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475 Filed 04/14/25   PageID.13763   Page
                                  61 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475 Filed 04/14/25   PageID.13764   Page
                                  62 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475 Filed 04/14/25   PageID.13765   Page
                                  63 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475 Filed 04/14/25   PageID.13766   Page
                                  64 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475 Filed 04/14/25   PageID.13767   Page
                                  65 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475 Filed 04/14/25   PageID.13768   Page
                                  66 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475 Filed 04/14/25   PageID.13769   Page
                                  67 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475 Filed 04/14/25   PageID.13770   Page
                                  68 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475 Filed 04/14/25   PageID.13771   Page
                                  69 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475 Filed 04/14/25   PageID.13772   Page
                                  70 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475 Filed 04/14/25   PageID.13773   Page
                                  71 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475 Filed 04/14/25   PageID.13774   Page
                                  72 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475 Filed 04/14/25   PageID.13775   Page
                                  73 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475 Filed 04/14/25   PageID.13776   Page
                                  74 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475 Filed 04/14/25   PageID.13777   Page
                                  75 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475 Filed 04/14/25   PageID.13778   Page
                                  76 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475 Filed 04/14/25   PageID.13779   Page
                                  77 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475 Filed 04/14/25   PageID.13780   Page
                                  78 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475 Filed 04/14/25   PageID.13781   Page
                                  79 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475 Filed 04/14/25   PageID.13782   Page
                                  80 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475 Filed 04/14/25   PageID.13783   Page
                                  81 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475 Filed 04/14/25   PageID.13784   Page
                                  82 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475 Filed 04/14/25   PageID.13785   Page
                                  83 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475 Filed 04/14/25   PageID.13786   Page
                                  84 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475 Filed 04/14/25   PageID.13787   Page
                                  85 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475 Filed 04/14/25   PageID.13788   Page
                                  86 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475 Filed 04/14/25   PageID.13789   Page
                                  87 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475 Filed 04/14/25   PageID.13790   Page
                                  88 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475 Filed 04/14/25   PageID.13791   Page
                                  89 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475 Filed 04/14/25   PageID.13792   Page
                                  90 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475 Filed 04/14/25   PageID.13793   Page
                                  91 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475 Filed 04/14/25   PageID.13794   Page
                                  92 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475 Filed 04/14/25   PageID.13795   Page
                                  93 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475 Filed 04/14/25   PageID.13796   Page
                                  94 of 95
Case 3:02-cv-00084-DMS-RBB   Document 475 Filed 04/14/25   PageID.13797   Page
                                  95 of 95
